Case 2:13-cr-20037-PKH   Document 383   Filed 05/29/14   Page 1 of 6 PageID #: 1804
Case 2:13-cr-20037-PKH   Document 383   Filed 05/29/14   Page 2 of 6 PageID #: 1805
Case 2:13-cr-20037-PKH   Document 383   Filed 05/29/14   Page 3 of 6 PageID #: 1806
Case 2:13-cr-20037-PKH   Document 383   Filed 05/29/14   Page 4 of 6 PageID #: 1807
Case 2:13-cr-20037-PKH   Document 383   Filed 05/29/14   Page 5 of 6 PageID #: 1808
Case 2:13-cr-20037-PKH   Document 383   Filed 05/29/14   Page 6 of 6 PageID #: 1809
